          Case 5:19-cr-00905-FB Document 124 Filed 07/23/21 Page 1 of 1


                                                                    FILED
                     UNITED STATES DISTRICT COURT                      JUL    23   2Q21
                      WESTERN DISTRICT OF TEXAS cU
                         SAN ANTONIO DIVISION                           °'           °' '
                                                                              OEPU?Y CLERK

USA                                         §
                                            §     CRIMINAL NO:
vs.                                         §     SA:19-CR-00905(1)-DAE
                                            §
(1) Christopher Felix Montoya               §



                     Motion for Bond (dkt no. 115)
                  GOVERNMENT EXHIBITS, Page 1 of 1
Exhibit        Description                                         Date Admitted
Gov no. I      Medicare Part D Billing post suspension of PA     07/23/202 1
               License
Gov. no. 2     Prescription for Controlled Substance April 12,   07/23/2021
              2021
